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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
United States of America                                                       Plaintiff

v.                                  Case No.: 4:20−cr−00053−BSM

Stephen Edward Rucker, II                                                    Defendant




                                NOTICE OF HEARING


      PLEASE take notice that the Change of Plea Hearing has been rescheduled in this
case for May 3, 2022, at 01:30 PM before Judge Brian S. Miller in Little Rock Courtroom
# 2D in the Richard Sheppard Arnold United States Courthouse located at 600 West
Capitol Avenue, Little Rock, Arkansas.



DATE: March 18, 2022                             AT THE DIRECTION OF THE COURT
                                                        TAMMY H. DOWNS, CLERK


                                                  By: Laura J. Bichlmeier, Deputy Clerk




Electronic copy provided to:

U.S. Marshals Service, Eastern District of Arkansas
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